10

11

12

13

14

15

United States District Court for the Middle District of Tennessee
RECEIVED
in Clerk's Office

JUN 22 2021

U.S, District Court
Middle District of TN

801 Broadway Rm 800, Nashville, TN 37203

Daniel James Silva
Plaintiff
13 management Case number:
Andrea Finley swift
Judge Eli J. Richardson
Judge William L. Campbell, Jr
Judge Joe Binkley

Neal and Harwell

 

Defendants

RICO Complaint

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 1 of 38 PagelD #: 1

 
10

11

12

13

14

15

16

17

Addresses

D1 13 management,

718 Thompson Ln Ste 108256, Nashville, TN 37204

D2 Andrea Finley swift,

Twenty two zero one Harding place

D3 Judge Eli J. Richardson,
801 Broadway, Nashville, TN 37203 my address 501 Lester lane , Winston Salem

NC 27203

D4 Judge William L. Campbell, Jr,

801 Broadway, Nashville, TN 37203

D5 Judge Joe Binkley,

1 Public Square, Suite 509 Nashville, TN 37201 (address listed)

D6 Neal and Harwell,

1201 Demonbreun St Ste 1000, Nashville, TN 37203

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 2 of 38 PagelD #: 2

 
10

11

12

13

14

15

16

17

Factual background

Taylor swift, James Douglas Baldridge, Venable LLC, neal and harwell,william T
ramsey,mariam n stockton , and mazianio s reliford are actively involved in a RICO
conspiracy involving fraudulent Trademarks trademarks (1989 sn: 86363039) and
(1989 sn: 86369161) because swifts name of her album is called (T.S. 1989)
sn:86369455 not (1989) they have actively been protecting fraudulent

trademarks (1989 sn: 86363039) and (1989 sn: 86369161).

the following cases have been against Taylor swift, her companies and her
lawyers for the following reasons (fraudulent trademarks) (1989 sn: 86363039)
and (1989 sn: 86369161), for violating my 5th and 14th amendment rights of due
process and RICO violations stemming from the (wire fraud)18 U.S.C. 1343 by
swifts lawyers uploaded images and other filing on pacer.gov for all my federal
cases more then 12 federal cases and caselink for case 21c444 also sending me

copy's is acts of mail fraud 18 U.S.C. Section 1341.

there are many federal and state judges who are Taylor’s swifts assessors after
the fact and have committed they own RICO violations using pacer.gov and

caselink to use the mail and internet to spread their fraud,

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 3 of 38 PagelD #: 3

 
10

11

12

13

14

15

16

here’s a list of the following state and federal judges who are RICO conspirators

and the cases they committed their acts,

U.S. District Court Northern District of Florida

4:19-cv-00286-RH-MIJF SILVA v. SWIFT

ROBERT L HINKLE, presiding

MICHAEL J FRANK, referral

4:19-cv-00290-AW-CAS SILVA v. BALDRIDGE

ALLEN C WINSOR, presiding

CHARLES A STAMPELOS, referral

4:21-cv-00024-MW-MAF SILVA v. VENABLE LLP

MARK E WALKER, presiding

MARTIN A FITZPATRICK, referral

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 4 of 38 PagelD #: 4

 
10

11

12

13

14

15

4:21-cv-00049-WS-MAF SILVA v. SWIFT

WILLIAM STAFFORD, presiding

MARTIN A FITZPATRICK, referral

4:21-cv-00095-MW-EMT SILVA v. HINKLE

MARK E WALKER, presiding

ELIZABETH M TIMOTHY, referral

4:21-cv-00134-AW-MAF SILVA v. ROSE

~ ALLEN C WINSOR, presiding

MARTIN A FITZPATRICK, referral.

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 5 of 38 PagelD #: 5
10

11

12

13

14

15

the U.S. District Court for the Middle District of Florida,

3:17-cv-00292-HES-MCR Silva v. Swift

Harvey E. Schlesinger, presiding

Monte C. Richardson, referral

3:17-cv-00814-MMH-JRK Silva v. Swift

Marcia Morales Howard, presiding

James R. Klindt, referral

3:18-cv-00688-MMH-JRK Silva v. TAS Rights Management, LLC

Marcia Morales Howard, presiding

James R. Klindt, referral

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 6 of 38 PagelD #: 6
10

il

12

13

14

15

3:19-cv-00354-TJC-MCR Silva v. Tas Rights Management LLC

Timothy J. Corrigan, presiding

Monte C. Richardson, referral

3:20-cv-01343-HES-PDB Silva v. Swift

Harvey E. Schlesinger, presiding

Patricia D. Barksdale, referral

6:19-cv-00384-RBD-T_S Silva v. Tas Rights Management LLC

Roy B. Dalton, Jr., presiding

T. B. Smith, referral.

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 7 of 38 PagelD #: 7
10

11

12

13

14

15

16

U.S. District Court Middle District of Tennessee

3:20-cv-00810 Silva v. Swift et al

Eli J. Richardson, presiding

3:20-cv-00938 Silva v. Mullen et al

William L. Campbell, Jr, presiding

all judges listed violated my 5th and 14th amendment rights to due process and
have allowed fraudulent Trademarks (1989 sn: 86363039) and (1989 sn:
86369161) because swifts name of her album is called (T.S. 1989) to stay active,
those trademarks prevent me due to the trademark act of 1984 from selling shirts

that say 1989 on it the year of my birth without committing a 3rd degree felony.

the following state and federal judges are in a RICO conspiracy with musician

Taylor swift,

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 8 of 38 PagelD #: 8
10

11

12

13

14

15

Federal Judge ROBERT L HINKLE

Federal Judge MICHAEL J FRANK

Federal Judge ALLEN C WINSOR

Federal Judge CHARLES A STAMPELOS

Federal Judge MARK E WALKER

Federal Judge MARTIN A FITZPATRICK

Federal Judge WILLIAM STAFFORD

Federal Judge ELIZABETH M TIMOTHY

Federal Judge Harvey E. Schlesinger

Federal Judge Monte C. Richardson

Federal Judge Marcia Morales Howard

Federal Judge James R. Klindt

Federal Judge Timothy J. Corrigan

Federal Judge Patricia D. Barksdale

Federal Judge Roy B. Dalton

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 9 of 38 PagelD #: 9

 
10

11

12

13

14

15

16

17

Federal Judge T. B. Smith

Tennessee state Judge N Even harris

Tennessee state Judge Dianne Turner

Tennessee state Judge Joe Binkley JR

In short not only are they 18 U.S. Code § 3 - Accessory after the fact but all
needed to use the United States federal mail service and pacer and or caselink/
efile to file their fraudulent orders committing multiple counts of mail and wire
fraud 18 U.S.C. Section 1341—Mail Fraud and 18 U.S, Code § 1343 - Fraud by

wire, radio, or television committing their own Rico violations in the process.

on 5/19/2020 | went to address Harding place to serve defendant Taylor Alison’s
swift a summary judgment and to attempt an arrest on her for the following

crimes,

Multiple counts of Obstruction of justice 1505

Multiple Rico violations

Multiple counts of 18 U.S. Code § 241. Conspiracy against rights
10

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 10 of 38 PagelD #: 10
10

11

12

13

14

15

16

17

18

And multiple other crimes along with her lawyer Doug Baldridge he orchestrated

her crimes,

| had gone to address Harding place and when | got there | was met by 2 armed
guards but | did not attempt to beach the gate, | handed over a copy of the my
civil rights lawsuit for case 4:19-cv-00286-RH-MIF SILVA v. SWIFT et al. a certified
complaint and a singed affidavit explaining swifts crimes in detail, on the arresting
affidavit by officer Andrew Mullen which he stated (the defendant was trying to
serve federal rico violations paperwork to a resident) admitting he knew swift
lives at the house and address, he later stated ( the defendant was there to serve
papers and to make a citizens arrest. Officer MULLEN has blatantly admitted that
he not only knew why | was there but after understating why | was there,
feloniously obstructing my legitimate citizen’s arrest also protecting SWIFT from

arrest in the process.
by officer Andrew Mullen placing me under arrest for 3rd degree trespass.

Mullen and the other 4 officers that where there committed the following civil
rights violations and broken the following criminal statues federal and state

committed by all named parities in the lawsuit,

11

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 11 of 38 PagelD.#: 11

 
10

11

12

13

14

is

16

By Mullen arresting me after reading the verified civil rights complaint and

affidavit he committed,

1st obstruction of justice 1503 (multiple counts) being that lawsuit 4:19-cv-

00286-RH-MIJF SILVA v. SWIFT et al was pending at the time,
2nd 2010 Tennessee Code

Title 39 - Criminal Offenses

Chapter 11 - General Provisions

Part 4 - Criminal Responsibility

39-11-411 - Accessory after the fact.

A person is an accessory after the fact who, after the commission of a felony, with

knowledge or reasonable ground to believe that the offender has committed

(a) the felony, and with the intent to hinder the arrest, trial, conviction or

punishment of the offender:

12

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 12 of 38 PagelD #: 12
fod

1S)

10

11

12

13

14

15

16

(1) Harbors or conceals the offender.

(2) Provides or aids in providing the offender with any means of avoiding

arrest, trial, conviction or punishment; or
(3) Warns the offender of impending apprehension or discovery.

(b) This section shall have no application to an attorney providing legal services

as required or authorized by law.

(c) Accessory after the fact is a Class E felony.

[Acts 1989, ch. 591, § 1; 1994, ch. 978, § 4; 1995, ch. 281, § 1.]

Also hes an 39-11-411. Accessory TO Mr.swifts FALSE POLICE REPORT
2010 Tennessee Code

Title 39 - Criminal Offenses

Chapter 16 - Offenses Against Administration of Government

Part 5 - Interference with Government Operations

39-16-502 - False reports.

(a) It is unlawful for any person to:

13

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 13 of 38 PagelD #: 13
nN

co

10

11

12

13

14

15

16

(1) Initiate a report or statement to a law enforcement officer concerning an

offense or incident within the officer's concern knowing that:

(A) The offense or incident reported did not occur.

(B) The person has no information relating to the offense or incident

reported; or

(C) The information relating to the offense reported is false; or

(2) Make a report or statement in response to a legitimate inquiry by a law
enforcement officer concerning a material fact about an offense or incident
within the officer's concern, knowing that the report or statement is false and

with the intent to obstruct or hinder the officer from:

(A) Preventing the offense or incident from occurring or continuing to occur; or

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 14 of 38 PagelD #: 14

14
10

11

12

13

14

15

16

(B) Apprehending or locating another person suspected of committing an

offense;

(2) A violation of subdivision (a)(3) is a Class C felony. [Acts 1989, ch. 591, § 1;

1990, ch. 1030, § 28; 1998, ch. 690, § 1; 2000, ch. 976, § 1; 2002, ch. 849, § 6.]
Due to the fact that the other named defendants not only fall under

2010 Tennessee Code

Title 39 - Criminal Offenses

Chapter 16 - Offenses Against Administration of Government

Part 5 - Interference with Government Operations

39-16-502 - False reports. But also 39-11-411. Accessory after the fact, for swifts
rico violations and the civil rights violations perpetrate by the arresting officer

(Mullen) and his back up.

Mullens arrest affidavit is fraudulent because the police report was fraudulent,
the report was made to obstruct my arrest. Being that mulleins affidavit is
fraudulent he and 4 others violated my 4th amendment right Mullen committed

2 counts of obstruction of justice 1503 for each fraudulent mark (1989 sn:

15

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 15 of 38 PagelD #: 15

 
ay

10

11

12

13

14

15

16

17

86363039) and (1989 sn: 86369161) equaling 1 count of RICO, caused by taylor

swifts and her father scott swifts and andrea swifts fraudulent police report.

RICO Count 1

13 management is the company that deals with taylor swifts trademarks and
anything todo with ip, ive had many cases with them and it can be easily proven

that they committed multiple counts of RICO.

RICO Count 2

Taylor swift gifted the house to her mothen|| was arrested at were officer mullen
committed 2 counts of obstruction 1503, Andrea Finlay swift is an accessory to

Andrew mullen and her daughters and her daughters companies RICO violations.

At least conspiracy.

16

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 16 of 38 PagelD #: 16
10

11

12

13

14

15

16

17

RICO Count 3
| had a case with Judge Eli J. Richardson 3:20-cv-00810 Silva v. Swift et al

hes an accessory to Andrew mullens, taylor swifts and rico violations, He also
denied me my 5th and 14th amendment rights to due process by not giving me a

opportunity to be heard (fair hearing), In the process.
RICO Count 4

Neal and Harwell is the laws firm on lawsuit 21c444 hired by 13 management and
JESSE P. SCHAUDIES, neal and Harwell accessory to Andrew mullens, taylor swifts
and Andrea Finley swifts rico violations also lawyer mozianio S Reliford sent me 4
letters on march 17th April 6" and April 13" there is another letter but | lost it
(Reliford committed at least 4 counts of mail fraud fraud 18 U.S.C. Section 1341—

Mail Fraud) Reliford gets his own rico count.
RICO Count 5

Judge joe Binkley violated my 5" and 14 amendment rights in civil case 21¢444
by giving me less then 48 hours to make a hearing in Tennessee and also gave a
no contact order committing 3 counts of obstruction 1505 (had 3 pending cases

in Florida at the time at the federal level).

17

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 17 of 38 PagelD #: 17
10

11

12

13

14

15

16

17

4:21-cv-00095-MW-EMT SILVA v. HINKLE et al closed 04/01/21

4:21-cv-00134-AW-MAF SILVA v. ROSE et al closed 04/01/21

4:21-cv-00024-MW-MAF SILVA v. VENABLE LLP et al closed 05/11/21

2 of which | dismissed myself due to mental exhaustion.

RICO count 6

| had a case with Judge William L. Campbell 3:20-cv-00938 Silva v. Mullen et al

hes an accessory to Andrew mullens, taylor swifts rico violations, He also denied
me my 5th and 14th amendment rights to due process by not giving me a

opportunity to be heard (fair hearing), In the process.

Memorandum of law to bring this lawsuit.

1. the Racketeer Influenced and Corrupt Organizations aCt (RICO), 18 U.S.C. '
1961-1968, which is Title IX of the Organized Crime Control Act of 1970 (OCCA),
imposes criminal and civil liability upon persons who engage in certain "prohibited
Activities," each of which is defined to include, as a necessary element, proof of a
"pattern of racketeering activity." ' 1962. "Racketeering activity" means “any act
or threat involving" specified state law crimes, any "act" indictable under

18

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 18 of 38 PagelD #: 18
10

11

12

13

14

15

16

17

18

specified federal statutes, and certain federal "offenses." '1961(1). A "pattern"
requires "at least two acts of racketeering activity" within a 10-year period. '

19651(5).

Continuity of racketeering activity likewise may be demonstrated in a variety of
ways. Continuity is centrally a temporal concept, and may be either closed-or
open-ended. A party alleging a RICO violation may demonstrate continuity over a
closed period by proving a series of related predicates extending over a

substantial period of time.

(c) Neither RICO's language nor its legislative history supports a rule that a
defendant's racketeering activities form a pattern only if they are characteristic of
organized crime. No such restriction appears in RICO's test. Nor is there any
language suggesting that RICO's scope should be limited to acts of an association

rather than an individual acting alone.

19

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 19 of 38 PagelD #: 19
10

11

12

13

14

15

16

17

18

A line of cases hold that any governmental agency, court, political office or the
like could serve as a RICO "enterprise." United States v. Thompson, 685 F.2d 993,
999 (6th Cir. 1982)(en banc) cert. denied, 459 U.S. 1072 (1983). Among the
government units that have been held to be "enterprises" are offices of governors
and state legislators, courts, court clerks' offices. See e.g., United States v.
Stratton, 649 F.2d 1066, 1072-75 (5th Cir. 1981); United States v. Clark, 656 F.2d
1259, 1261-67 (8th Cir. 1981) Office of county judge); United States v. Frumento,
405 F. Supp. 23, 29-30 (E.D. Pa. 1975), affd, 563 F.2d 1083 (3d Cir. 1977). cert,

debued, 434 U.S. 1072 (1978).

Decisions after Frumento expanded government activity to every conceivable
government agency, court, or political office. United States v. Thompson, 669 F.2d

1143 (6th Cir), revd 685 F.2d 993 (6th Cir. 1982)(en banc), cert. denied, 459 U.S.

1072 (1983)

Each of these criminal acts were compounded by the fact that they were

perpetrated by people in positions of trust, who were paid to enforce the law.

20

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 20 of 38 PagelD #: 20
10

11

12

13

14

15

16

17

Expanding on the number of parties involved in the series of predicate acts
were the unknown-but suspected—U.S. Department of Justice—parties that were
orchestrating the multiple schemes and conspiracies and protecting each of the

criminal acts of each and every one.

Title 18 U.S.C. § 1962(a) provides:

Title 18 U.S.C. § 1962(d) makes it "unlawful for any person to conspire to violate

any of the provisions of subsections (a), (b), or (c) of this section."

In Beauford v. Helmsley, S. Ct. (1989), the Supreme Court held that it is
not necessary to prove that multiple schemes, episodes or transactions occurred
in order to establish a "pattern of racketeering activity," as long as the

racketeering acts were "neither isolated nor sporadic."

Mail and wire fraud were a part of the scheme, as defendants used the mails and

telephone to carry out their schemes. The mails were used in filing court papers,

21

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 21 of 38 PagelD #: 21

 
10

11

12

13

14

15

16

17

18

used to notify plaintiff of these filings, More than two, actually dozens of

instances, of such mail and wire fraud occurred, in a pattern of racketeering
activity.

In H.J. Inc. v. Northwestern Bell Telephone Co. vs. U.S. (June 26, 1989), the

court held:

The Racketeer Influenced and Corrupt Organizations aCt (RICO), 18 U.S.C. ' 1961-
1968, which is Title IX of the Organized Crime Control Act of 1970 (OCCA),
imposes criminal and civil liability upon persons who engage in certain "prohibited
Activities," each of which is defined to include, as a necessary element, proof of a
"pattern of racketeering activity." '1962. "Racketeering activity" means "any act
or threat involving" specified state law crimes, any "act" indictable under
specified federal statutes, and certain federal "offenses." '1961(1). A "pattern"

requires "at least two acts of racketeering activity" within a 10-year period. '

19651(5).

Continuity of racketeering activity likewise may be demonstrated in a variety of
ways. Continuity is centrally a temporal concept, and may be either closed—or

open-ended. A party alleging a RICO violation may demonstrate continuity over a

22

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 22 of 38 PagelD #: 22
10

11

12

13

14

15

16

17

closed period by proving a series of related predicates extending over a

substantial period of time.

(c) Neither RICO's language nor its legislative history supports a rule that a
defendant's racketeering activities form a pattern only if they are characteristic of
organized crime. No such restriction appears in RICO's test. Nor is there any
language suggesting that RICO's scope should be limited to acts of an association

rather than an individual acting alone.

RICO Requires no more than a slight effect upon interstate commerce.
United States v. Doherty, 867 F.2d 47, 68 (1st Cir. 1989). United States v. Murphy,

768 F.2d 1518, 1531 (7th Cir. 1985). cert. denied, 106 S.Ct. 1188 (1986).

The racketeering activity is not required to benefit the enterprise. The
participants in the scheme are not required to have personally profited, though

some did. United States v. Killip, 819 F.2d 1542, 1.549 (10th Cir. 1987.

23

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 23 of 38 PagelD #: 23
10

11

12

13

14

15

16

17

18

Congress limited the force of Rule 8(b) by loosening the statutory requirements
for what constitutes joint criminal activities. United States v. Friedman, 854 F.2d
535, 561 (2d Cir. 1988); United States v. Castellano, 610 F.Supp. 1359, 1396
(S.D.N.Y. 1985). Ifa defendant is not named in a conspiracy or RICO count, he may
be charged in a separate court, in the same indictment, if he is alleged to have
participated in the same series of acts or transactions that constituted the

conspiracy or RICO offense.

Civil Liability

Section 1964(c) of the RICO Act also allows civil claims against anyone accused
of a RICO violation. When a civil RICO claim is successfully established, the
injured person automatically receives a judgment of three times the amount of

their actual damages, plus legal fees

RICO employs broad definitions to sweep a wide variety of enterprise criminal
activity into its purview. One of the original goals of RICO was to eliminate
organized-crime families. However, because Congress could not legislate against

specific persons or families, it was forced to use broad language to define

24

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 24 of 38 PagelD #: 24
10

11

12

13

14

15

16

17

racketeering and organized crime. The far-reaching language of the statute has
subjected a wide range of criminal defendants to RICO’s penalties. The typical
RICO defendant is far from the stereotypical violent mobster. A RICO defendant
can be anyone who uses a business (including courts of law) in any way to

commit two or more of the many racketeering offenses.

Void judge’s orders

1. A judge is an officer of the court, as well as are all attorneys. A state judge is a
state judicial officer,paid by the State to act impartially and lawfully. A federal
judge is a federal judicial officer, paid by thefederal government to act
impartially and lawfully. State and federal attorneys fall into the same general
category and must meet the same requirements. A judge is not the court.

People v. Zajic, 88 lll.App.3d 477,

2. "Fraud upon the court" occurs whenever any officer of the court commits

fraud before a tribunal. A judge is not a court; he is under law an officer of the

25

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 25 of 38 PagelD #: 25
10

11

12

13

14

15

16

17

18

court, and he must not engage in any action to deceive thecourt. Trans Aero Inc.

v. LaFuerga Area Boliviana, 24 F.3d 457 (2nd Cir. 1994); Bulloch v. United States,

763 F.2d 1115, 1121 (10th Cir. 1985) (fraud upon the court exists "where the

judge has not performed his duty).

3. Whenever any officer of the court commits fraud during a proceeding in the
court, he/she isengaged in "fraud upon the court". In Bulloch v. United States,

763 F.2d 1115, 1121 (10th Cir. 1985),

the court stated "Fraud upon the court is fraud which is directed to the judicial
machinery itself and is not fraud between the parties or fraudulent documents,
false statements or perjury. ... It is where the court or a member is corrupted or
influenced or influence is attempted or where the judge hasnot performed his
judicial function --- thus where the impartial functions of the court have been
directly corrupted.""Fraud upon the court" has been defined by the 7th Circuit
Court of Appeals to "embrace that species of fraud which does, or attempts to,
defile the court itself, or is a fraud perpetrated by officers of thecourt so that the
judicial machinery can not perform in the usual manner its impartial task of

adjudgingcases that are presented for adjudication." Kenner v. C.I.R., 387 F.3d 689

26

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 26 of 38 PagelD #: 26

 
10

11

12

13

14

15

16

17

(1968); 7 Moore's Federal Practice, 2d ed., p. 512, 4] 60.23. The 7th Circuit further
stated "a decision produced by fraud upon thecourt is not in essence a decision at

all, and never becomes final."

4.What effect does an act of "fraud upon the court" have upon the court

proceeding? "Fraud upon

the court" makes void the orders and judgments of that court. The U.S.
Supreme Court has consistently held that a void order is void at all times, does
not have to be reversed or vacated by a judge, can not be made valid by any
judge, nor does it gain validity by the passage of time. The order is void ab
initio.

Vallely v. Northern Fire & Marine Ins. Co., 254 U.S. 348, 41 S.Ct. 116 (1920).

“Fraud destroys the validity of everything into which it enters,” Nudd v. Burrows
(1875), 91 US 426, 23 Led 286,290; particularly when “a judge himself is a party to
the fraud,” Cone v. Harris (Okl. 1924), 230 P. 721, 723. Windsor v. McVeigh

(1876), 93 US 276, 23 Led 914, 918.

27

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 27 of 38 PagelD #: 27
N

10

11

12

13

14

15

16

5.A judgment may not be rendered in violation of constitutional protections.

The validity of a judgment may be affected by a failure to give the constitutionally
required due process notice and an opportunity to be heard. Earle v. McVeigh, 91
US 503, 23 L Ed 398. See also Restatements, Judgments ' 4(b). Prather vLoyd, 86

Idaho 45, 382 P2d 910.

6. The limitations inherent in the requirements of due process and equal
protection of the law extend to judicial as well as political branches of

government, so that a
judgment may not be rendered in violation of those constitutional limitations and

guarantees. Hanson v Denckla, 357 US 235, 2 L Ed 2d 1283, 78 S Ct 1228.

28

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 28 of 38 PagelD #: 28

 
10

11

12

13

14

15

16

17

Specific relief requested.

injunctive relief,

Al Set aside Judge William L. Campbells void order in case 3:20-cv-00938 Silva
v. Mullen et al for committing Rico violations. Even if he did not commit Rico
violations (which he did), | wasn’t given due process. Making his order void, void

ab initio.

Monetary relief,

For general damages | want 4 years of medium Tennessee income from each
defendant for 13 management committing rico violations over the past 4 years,
stating back 3:18-cv-00688-MMH-JRK Silva v. TAS Rights Management, LLC. Over

10 federal lawsuits ive had with due over 4 years. $56,084 4x 224,336 dollars.

Total amount 1,346,016 from all defendents in monetary damages.

13 management 224,336 dollars

Andrea Finley swift 224,336 dollars
29

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 29 of 38 PagelD #: 29

 
10

11

12

13

14

15

16

Judge EliJ. Richardson 224,336 dollars

Judge William L. Campbell, Jr 224,336 dollars

Judge Joe Binkley 224,336 dollars

Neal and Harwell 224,336 dollars

Punitive damages
13 management__ 89,000,000 million dollars

Andrea Finley swift 89,000,000 million dollars

Neal and Harwell 89,000,000 million dollars

Memorandum for punitive damage’s

Because punitive damages are intended to punish the wrongdoer, a wealthy
wrongdoer should face a higher punitive damages award than a less wealthy
party. Neal v Farmers Ins. Exch, (1978)21 C3d 910, 928, 148 CR 389 ("the function
of deterrence... will not be served if the wealth of the defendant allows him or

her to absorb the award with little or no discomfort"). Little v Stuyvesant Life Ins.

30
Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 30 of 38 PagelD #: 30
10

11

12

13

14

15

16

17

18

Co. (1977)67 CA3d 451, 469, 136 CR 653; see also Michelson v Hamada (1994)29
CA4th 1566, 1595, 36 CR2d 343. [a]lthough appellate courts have sometimes used
the terms "wealth," "financial condition" and "net worth" interchangeably
[citations], clearly these terms are not synonymous. And, while "net worth" is
probably the financial measurement most often used in setting the amount of

punitive damages, no court has held that it is the only permissible measurement.

See also Cheung v Daley (1995)35 CA4th 1673, 1677, 42 CR2d 164; Kizer v County
of San Mateo (1991) 53 C3d 139, 147, 279 CR 318. In Clark v McClurg (1932) 215 C
279, 9 P2d 505, however, an award of $5000 in punitive damages was upheld

when the jury left blank the space for actual damages.

In Cheung, defendant was accused of fraudulently transferring real property to
evade satisfaction of a nuisance judgment against him. The jury found that
plaintiff was entitled to compensatory damages in the amount of SO. The jury
further found that by making the fraudulent transfers, defendant had acted with
fraud, oppression, or malice, and awarded punitive damages. On appeal, the
court concluded that "the rule of Mother Cobb’s Chicken -- that an award of
exemplary damages must be accompanied by an award of compensatory

damages-is still sound. That rule cannot be deemed satisfied where the jury has

31

Case 3:21-cv-00480 Document1 Filed 06/22/21 Page 31 of 38 PagelD #: 31

 
10

11

12

13

14

15

16

17

made an express determination not to award compensatory damages." 35 CA4th

at 1677.

Michelson v Hamada (1994)29 CA4th 1566, 1593, 36 CR2d 343; Las Palmas
Assocs. v Las Palmas Center Assocs. (1991)235 CA3d 1220, 1243, 1 CR2d 301
("punitive damages are not awarded for the purpose of rewarding the plaintiff,
but to punish the defendant"); Kaye v Mount La Jolla Homeowners Ass’n
(1988)204 CA3d 1476, 1493, 252 CR 67; Dyna-Med, Inc. v FEHC (1987) 43 C3d
1379, 1387, 341 CR 67 (punitive damages "serve but one purpose-—to punish and
through punishment, to deter"); Castaic Clay Mfg. Co. v Dedes (1987)195 CA3d
444, 450, 240 CR 652; Neal v Farmers Ins. Exch. (1978)21 C3d 910, 928 n13, 148
CR 389. Accordingly, punitive damages should not be greater than the amount
necessary to accomplish these goals. Weeks v Baker & McKenzie (1998)63 CA4th
1128, 1166, 74 CR2d 510; Michelson v Hamada (1994)29 CA4th 1566, 1593, 36
CR2d 343; Neal v Farmers Ins. Exch. (1978)21 C3d 910, 928 n13, 148 CR 389 ("the
function of punitive damages is not served by an award which, in light of the
defendant’s wealth and the gravity of the particular act, exceeds the level

necessary to properly punish and deter").

32

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 32 of 38 PagelD #: 32

 
10

11

12

13

14

15

16

17

The deterrence justification for punitive damages is motivated by two objectives:
(1) to deter the specific defendant in the case from repeating or continuing his,
her, or its offensive behavior and (2) to deter, generally, other potential parties
from committing similar offenses. See Restatement (Second) of Torts §908. This
rationale of deterrence is especially strong in cases in which other measures of
civil damages, and the unlikely prospect of criminal prosecution, are together
insufficient to prevent an individual or entity from engaging in a wrongful act.
Indeed, absent the fear of punitive damages, a defendant may have little

incentive to discontinue the unlawful or harmful conduct.

determine the amount of punitive damages to award, the Book of Approved Jury

Instructions (BAJI) states that the jury should consider:
(1) The reprehensibility of the conduct of the defendant.

(2) The amount of punitive damages which will have a deterrent effect on the

defendant in the light of defendant’s financial condition.

Even if plaintiff suffers only minimal damage, willful and intentional misconduct
may be basis for award of punitive damages, In re Baker, 18 B.R. 243, 245 (Bankr.

WDNY 1982).

33

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 33 of 38 PagelD #: 33

 
10

11

12

13

14

15

16

17

Punitive damages may be awarded in a tort action arising from the parties
contractual relationship and other matters if the plaintiff demonstrates; (1) that
the defendant’s conduct is actionable as independent tort; (2) the tortious
conduct is of an egregious nature; (3) the egregious conduct is directed toward
the plaintiff; (4) the defendant’s conduct is part of a pattern directed at the public
generally, Conocophillips v. 261 E. Merrick Rd. Corp., 428 F.Supp.2d 111, 129

(EDNY 2006).

punitive damages should be reserved for cases where defendant acted with the
degree of malice akin to the mens rea required for most crimes, Jeffries v.
Harleston, 21 F.3d 1238, 1249, cert. granted, vacated on other grounds, 513 U.S.

996 (1994).

In federal cases, the factfinder may award punitive damages if the defendant’s
conduct “was malicious, oppressive or in reckless disregard of the plaintiff's
rights, Generally, punitive damages can be awarded in an amount up to the
greater of $500,000.00 or three times the amount of compensatory damages.
Fla. Stat. 768.73(1)(a) However, the amount of punitive damages may be greater

upon proof that the conduct was motivated by unreasonable financial gain or

34

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 34 of 38 PagelD #: 34

 
10

11

12

13

14

15

16

17

specific intent to harm. No cap in Florida if intent was on purpose for punitive

damages.

Vicariously assessed punitive damages are insurable in Florida. U.S. Concrete Pipe
Co., 437 So. 2d 1061. See also Highlands Ins. Co. v. McCutchen, 486 So. 2d 4 (Fla.

Dist. Ct. App. 1986).

There is no maximum dollar amount of punitive damages that a defendant can be
ordered to pay. In response to judges and juries which award high punitive
damages verdicts, the Supreme Court carved out a notable exception to this rule
of proportionality in the case of TXO Production Corp. v. Alliance Resources Corp.,
where it affirmed an award of $10 million in punitive damages, despite the
compensatory damages being only $19,000, a punitive-to-compensatory ratio of

more than 526.

2014 Tennessee Code
Title 29 - Remedies and Special Proceedings
Chapter 39 - Compensation for Economic and Noneconomic Damages

§ 29-39-104 - Punitive damages.

35

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 35 of 38 PagelD #: 35

 
10

11

12

13

14

15

16

Pro se case law,

1. Elmore v. McCammon (1986) 640 F. Supp. 905

" .. the right to file a lawsuit pro se is one of the most important rights under

the constitution and laws."

2. Jenkins v. McKeithen, 395 U.S. 411, 421 (1959): Picking v. Pennsylvania R. Co.,
151 Fed 2nd 240; Pucket v. Cox, 456 2nd 233 Pro se pleadings are to be
considered without regard to technicality; pro se litigants’ pleadings are not to

be held to the same high standards of perfection as lawyers.

3. Maty v. Grasselli Chemical Co., 303 U.S. 197 (1938)

"Pleadings are intended to serve as a means of arriving at fair and just

settlements of controversies between litigants. They should not raise barriers

which prevent the achievement of that end. Proper pleading is important, but

its importance consists in its effectiveness as a means to accomplish the end

of a just judgment."

36

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 36 of 38 PagelD #: 36

 
1

10

11

12

13

14

15

16

17

4. Puckett v. Cox, 456 F. 2d 233 (1972) (6th Cir. USCA)
It was held that a pro se complaint requires a less stringent reading than one
drafted by a lawyer per Justice Black in Conley v. Gibson.

Daniel James silva prose 6/19/2021

i eK
\ “v
Celticmooni1989@yahoo.com

501 Lester lane Winston Salem nc 27103

this court has approved my forma pauperis in case 3:20-cv-00938 Silva v.
Mullen et al William L. Campbell Jr, so this court has already declared me a

pauper and that was when | had a job | don’t have one anymore.
Further Rico violations

Tas management and their conspirators have recently committed rico violations
in this court Case No. 3:21-cv-00136 involving invaild copyright 1989, William L.
Campbell, Jr presided over a case Case No. 3:21-cv-00136 in the very same court

he committed Rico violations in case 3:20-cv-00938 Silva v. Mullen et al. earlier

in the year.

37

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 37 of 38 PagelD #: 37

 
10

11

Table of contents (exhibits)

Exhibit A - name of Taylor swifts album (T.S. 1989) (86369455)

Exhibit B — photo of swifts album

Exhibit C- Fraudulent trademark (1989) (sn: 86369161)

Exhibit D — Fraudilent trademark (1989) (sn:86363039)

Exhibit E — mail fraud from neal and Harwell 18 usc 1341

Exhibit F - mail fraud from neal and Harwell 18 usc 1341

Exhibit G - mail fraud from neal and Harwell 18 usc 1341

Exhibit H — arrest affidavit from officer Andrew mullen

Exhibit | — general affidavit

38

Case 3:21-cv-00480 Document 1 Filed 06/22/21 Page 38 of 38 PagelD #: 38

 
